Case 1:04-cv-OlO76-.]DT-STA Document 12 Filed 08/09/05 Page 1 of 2 Page|D 11

\9 \0

_ . . b , »°
United States District Court *,j§zf,§;;¢, 2 ”'/a$
WESTERN DISTRICT oF TENNESSEE '@QQ=§;¢"`;’>;;;€“OJZ,

Eastern Division “'*T;"@Of/ /
TERRY VESTAL JUDGMENT lN A C|ViL CASE
v.
GLEN TURNER, Warden CASE NU|V|BER: 04-1076-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

|t appearing to the court that the petitioner in this matter died on February 17,
2005, |T |S ORDERED AND ADJUDGED that in compliance With the order of dismissal
entered in the above-styled matter on 08/08/05, this case is hereby D|SNI|SSED as
moot.

APPROVED:

 

 

JAM D. TODD
UNI ED STATES DISTRICT JUDGE

THOMAS M. GOULD

 

 

CLERK v ,, » _
d ici 165 BY: C D/M
DATE 7 l DEPUTYCLERK

This document entered on the docket sheet in compliance

with Rule 58 andfor 79(&) FRCP Or'l Q! 501 § 2 § 2 .

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 1:04-CV-01076 Was distributed by faX, mail, or direct printing on
August 10, 2005 to the parties listed.

 

 

Mark A. Fulks

ATTORNEY GENERAL'S OFFICE (NashvilleCr)
P.O. Box 20207

Nashville, TN 37202

Terry V. Vestal
HCCF-WHITEVILLE
125303

P.O. Box 549

Whiteville, TN 38075--054

Honorable J ames Todd
US DISTRICT COURT

